 1   Judith B. Jennison, Bar No. 165929
     JJennison@perkinscoie.com
 2   PERKINS COIE LLP
     1201 Third Avenue, Suite 4900
 3   Seattle, WA 98101-3099
     Telephone: 206.359.8000
 4   Facsimile: 206.359.9000
 5   Andrew Ohlert, Bar No. 306443
 6   AOhlert@perkinscoie.com
     PERKINS COIE LLP
 7   505 Howard Street, Suite 1000
     San Francisco, CA 94105-3204
 8   Telephone: 415.344.7183
     Facsimile: 415.344.7383
 9

10   Attorneys for Defendant Microsoft Corporation

11
                                 UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13
                                     SAN FRANCISCO DIVISION
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15
     ANTONIO MEDINA                                  Case No. 3:14-cv-00143-RS
16
                   Plaintiff,                        DEFENDANT MICROSOFT’S
17                                                   OPPOSITION TO PLAINTIFF’S MOTION
            v.
                                                     TO STRIKE AND SEAL
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     MICROSOFT CORPORATION, et al,
19                                                   Judge:   Hon. Richard Seeborg
                   Defendants.                       Hearing: December 17, 2020
20                                                   Time:    1:30 p.m.

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     OPPOSITION TO PLAINTIFF'S MOTION TO                               Case No. 3:14-cv-00143-RS
     STRIKE AND SEAL
 1   I.        ARGUMENT
 2             This case has been closed since January 2015. In his Motion to Strike and Seal, pro se

 3   Plaintiff, Antonio Medina, now asks the Court to strike portions of Microsoft’s Motion for Entry of

 4   Protective Order as well as Magistrate Corley’s Order granting that Motion, which date back to the

 5   summer of 2014. In the alternative, Plaintiff appears to suggest that the Court should seal that

 6   material.

 7             While the motion fails to establish that Plaintiff is entitled to any relief, Microsoft does not

 8   oppose Plaintiff’s request to seal the material solely in order to most efficiently dispose of this issue

 9   in a case which is now long closed. Microsoft does, however, object to striking all or any portion of

10   the pleadings. Microsoft also wishes to correct a number of inaccuracies in Plaintiff’s most recent

11   filing.

12             Plaintiff’s request to strike should be denied because it fails to meet the standard for striking

13   materials from a pleading. Motions to strike are disfavored and should not be granted unless the

14   stricken matter “could have no possible bearing on the subject matter of the litigation.” F.D.I.C. v.

15   Straub, No. 11-03295, 2012 WL 1965621, at *2 (N.D. Cal. May 31, 2012) (emphasis added) (“A

16   court must deny the motion to strike if there is any doubt whether the allegations in the pleadings

17   might be relevant in the action”). As discussed in more detail below, Plaintiff’s prior convictions for

18   fraud were relevant to whether he could be trusted to comply with the strictures of the protective

19   order in that case. Further, the purpose behind such a motion is to streamline the case “by dispensing

20   with [spurious] issues prior to trial[.]” Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th

21   Cir. 2010); Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880, 885–86 (9th Cir. 1983). Thus,

22   Plaintiff’s motion should be denied because it was filed years after the settlement of all the issues in

23   this case. Rosenshein v. Kushner, No. 15cv7397, 2016 WL 4508756, at *7 (S.D.N.Y. Aug. 26, 2016),

24   aff'd sub nom. Rosenshein v. Meshel, 688 F. App'x 60 (2d Cir. 2017) (holding Rule 12(f) did not

25   require striking of allegations where claims were already dismissed).

26             Moreover, Courts have declined to strike allegations that cast a party in an unfavorable light

27   where those allegations are already part of the public record. Rosenshein, 2016 WL 4508756, at *7

28   (“while the allegations paint Sturman in a negative light, some are already part of the public record

     OPPOSITION TO PLAINTIFF'S MOTION                    1                        Case No. 3:14-cv-00143-RS
     TO STRIKE AND SEAL
 1   in a prior proceeding and none is sufficiently scandalous to require striking under Rule 12(f)”); Doe
 2   v. Murray, No. A-08-CA-234, 2008 WL 11333998, at *2 (W.D. Tex. Sept. 26, 2008) (“Defendants
 3   do not make a strong showing of prejudice, as the matters at issue are part of the public record.”).
 4          Plaintiff asserts that Microsoft’s (and the Court’s) recitation of his criminal history was “false,
 5   defamatory and also irrelevant,” (Motion at 3). This is not accurate as his criminal history and prior
 6   convictions were well established and a matter of public record at the time of Microsoft’s Motion for
 7   Protective Order. United States v. Puerta, 38 F.3d 34, 36 (1st Cir. 1994) (affirming Plaintiff’s
 8   conviction of “bank fraud” and “transportation in foreign commerce of stolen or fraudulently obtained
 9   funds” where “Medina had deposited a $365 check in his Bank of Boston account, knowingly
10   misrepresented the amount as $365,000, ultimately received a credit of $365,000 to his account, and
11   then transferred $350,000 of these fraudulently obtained funds to his account in an English bank.”);
12   Jury Verdict, United States v. Puerta, No. 11-cr-00055 (C.D. Cal. Sept. 12, 2012), ECF. No. 79 (Jury
13   verdict as to Antonio Medina Puerta, Guilty on Count 1-3). In fact, at the time, Plaintiff did not
14   dispute the convictions in his response to Microsoft’s Motion for Protective Order, only stating that
15   they were irrelevant. Opposition to Microsoft’s Motion for Entry of Protective Order, Dkt. No. 68 at
16   6 (“Microsoft alleges that Dr. Medina has a criminal history because of two cases that it found. One
17   is more than 20 years old, and the other is on appeal.”). To date, Dr. Medina has not provided
18   evidence to support his position, though his second conviction appears to have been reversed on
19   appeal, subsequent to the motion in question. United States v. Puerta, 607 F. App'x 635, 635 (9th
20   Cir. 2015) (recognizing “Medina Puerta was charged with and convicted of three counts of bank fraud
21   under 18 U.S.C. § 1344(2)” before overturning conviction).
22          Plaintiff further contends that discussion of his criminal history was “gratuitous and bear[s]
23   no connection to the issues decided” in this Court’s decision to grant a protective order. Motion at
24   2-3. But the papers and Magistrate Corley’s Order show that the opposite is true. Microsoft believed
25   Plaintiff’s prior criminal convictions for crimes involving fraud demonstrated that he could not be
26   trusted to maintain the confidentiality of Microsoft’s documents produced in discovery. Motion for
27   Protective Order, Dkt. No. 53 at 1 (“Medina’s status as Microsoft’s direct competitor in the area of
28   the accused technology—and Medina’s inherent lack of trustworthiness, as confirmed by his repeated

     OPPOSITION TO PLAINTIFF'S MOTION                  2                        Case No. 3:14-cv-00143-RS
     TO STRIKE AND SEAL
 1   fraud convictions—makes it inappropriate for Medina to personally have access to any Microsoft
 2   confidential information.”). Magistrate Corley granted Microsoft’s motion. Order, Dkt. No. 77 at 5-
 3   6 (“The District’s Model Protective Order governs this action and Dr. Medina may not view any
 4   material Microsoft designates as ‘highly confidential.’”). Though her Order does not expressly state
 5   that Plaintiff’s criminal history influenced her decision, the fact that she included a discussion of his
 6   convictions in her Order suggests she too believed them relevant.
 7          Finally, Plaintiff has misrepresented his attempt to meet and confer with Microsoft. He quoted
 8   correspondence with Microsoft’s counsel from three years ago, implying the discussion related to his
 9   current filing. Though the parties did have a recent exchange in advance of his current filing, he
10   chose not to include that exchange in his papers. Declaration of Judith B. Jennison in Response to
11   Motion to Strike and Seal, Exh A. The discussions that Plaintiff references from 2017 related to a
12   threatened (but never filed) motion to seal, not the present motion to strike and seal. Id., Exh. B. This
13   further shows that he knew in at least 2017 that the pleadings were public because he reached out to
14   Microsoft at that time to request a joint motion to seal, which he never filed.
15   II.    CONCLUSION
16          Microsoft recognizes that pro se litigants are often afforded more leniency than represented
17   parties in procedural matters like the one before the Court. Plaintiff’s latest filing falls far short of
18   the requirements to strike six year old papers or Court’s orders. Nonetheless, in the interest of
19   efficient resolution of this issue, should the Court be so inclined, Microsoft does not oppose Plaintiff’s
20   request to seal portions of Microsoft’s Motion for Protective Order or the Court’s Order granting that
21   motion.
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     OPPOSITION TO PLAINTIFF'S MOTION                   3                       Case No. 3:14-cv-00143-RS
     TO STRIKE AND SEAL
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     DATED: November 20, 2020           By: /s/ Judith B. Jennison
 2                                          Judith B. Jennison, Bar No. 165929
                                            JJennison@perkinscoie.com
 3                                          PERKINS COIE LLP
 4                                          1201 Third Avenue, Suite 4900
                                            Seattle, WA 98101-3099
 5                                          Telephone: 206.359.8000
                                            Facsimile: 206.359.9000
 6
                                            Andrew Ohlert, Bar No. 306443
 7                                          AOhlert@perkinscoie.com
 8                                          PERKINS COIE LLP
                                            505 Howard Street, Suite 1000
 9                                          San Francisco, CA 94105-3204
                                            Telephone: 415.344.7183
10                                          Facsimile: 415.344.7383
11                                      Attorneys for Defendant Microsoft Corporation
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     OPPOSITION TO PLAINTIFF'S MOTION   4                    Case No. 3:14-cv-00143-RS
     TO STRIKE AND SEAL
 1                                    CERTIFICATE OF SERVICE
 2          I certify that I will cause the foregoing document to be served on the following parties by the
 3   method indicated.
 4
                                                            Via ECF
             Antonio Medina                           X     Via U.S. Mail
 5           PO Box 361361
             Milpitas, CA 95035                             Via Overnight Delivery
 6           714-248-5689                                   Via Facsimile
             medina_nasa@hotmail.com                        Via Email
 7

 8
            DATED this 20th day of November 2020.
 9                                                        /s/ Judith B. Jennison
                                                          Judith B. Jennison
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     CERTIFICATE OF SERVICE                          1                       Case No. 3:14-cv-00143-RS
